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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Case No.: 21-cr-00028-APM
THOMAS EDWARD CALDWELL :
DONOVAN RAY CROWL, and
JESSICA MARIE WATKINS
Defendants

MOTION FOR REVIEW OF DETENTION ORDER PURSUANT TO 18 U.S.C.
§ 3145 (b) AND MOTION FOR RELEASE

COMES NOW the Defendant, THOMAS EDWARD CALDWELL,
(“Caldwell”) by counsel, and hereby requests this Honorable Court grant him bail,
and suggest a personal recognizance bond, in the present matter and in support of
said Motion, states as follows and refers the Court to his Memorandum, filed
herewith:

Pursuant to 18 U.S.C. § 3142, et seq., Caldwell should be admitted to bail.

Caldwell is not subject to a rebuttable presumption against bond pursuant to
18 U.S.C. 3142 (e)(2), as he has no prior convictions for Federal or State offenses.

Caldwell is not subject to a rebuttable presumption against bond pursuant to

18 U.S.C. 3142 (e)(3), as he is not charged with the crime(s) enumerated in
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subsections A-E. Even if the Court finds otherwise, the facts support his rebuttal of
the Government’s position.

At the Rule 5 hearing, the Government opposed bond pursuant to 18 U.S.C.
§ 3142 (£){1)(A) and (f)(2)(B), in which detention is authorized, but not
presumptive.

Contrary to the Government’s position, Caldwell alleges he is not charged
with a crime of violence, merely a crime against property, and the weight of
evidence against him is circumstantial at best. Since the Rule 5 hearing, the
Government is in possession of evidence that contradicts the facts as set forth in
the indictment as he never was in the Capitol Building and there is no evidence of
his presence there or his destruction of property. Caldwell is an upstanding citizen,
a honorably discharged officer from the United States Navy, and long-time
resident of the Western District of Virginia. Caldwell has no criminal history, and
was not on probation, parole, or other release pending trial when he was arrested.
There is no danger to any person or to the community should Caldwell be granted
bond.

As appropriate, should the Court not release him pursuant to 18 U.S.C. §
3142 (b), the Court should release him pursuant to 18 U.S.C. § 3142 (c) Caldwell

argues that most conditions under 18 U.S.C. § 3142 (c) are inapplicable. However
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he agrees to any conditions of release imposed by the Court. His position is fully

set forth in the accompanying Memorandum.
WHEREFORE, the Defendant THOMAS EDWARD CALDWELL
respectfully requests the Court to grant him a bond in the above-styled case.

Defendant further requests to be heard on this motion as soon as possible.

Respectfully submitted:
THOMAS EDWARD CALDWELL
By Counsel
IS/ =
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Counsel for Defendant Thomas Edward Caldwell

CERTIFICATE OF SERVICE

I certify that on this 8" day of February, 2021, I electronically filed the foregoing

Memorandum in Support of Motion for Review of Detention Order Pursuant to 18

U.S.C. §3145(b) and Motion for Release using the CM/ECF System, which will send

Kathryn Leigh Rakoczy at kathryn.rakoczy@usdoj.gov

{S/
Thomas K. Plofchan, Jr., Esq.

